 1                         UNITED STATES BANKRUPTCY COURT
                                         of the
 2                         NORTHERN DISTRICT OF CALIFORNIA
 3
     In Re                                           Chapter 13 Case Number:14-41026-RLE13
 4
              Catherine Crass Mccause
                                                     NOTICE OF PLAN COMPLETION AND
 5                                                   REQUEST FOR NOTICE OF CHAPTER
                                                     13 CASE CLOSED WITHOUT
 6
                                                     DISCHARGE BY TRUSTEE
                                       Debtors(s)
 7

 8 Martha G. Bronitsky, Chapter 13 Standing Trustee, (hereinafter "Trustee") represents the
     following:
 9
     1. The confirmed Chapter 13 Plan in this case has been completed and all plan payment
10 to be made to the Trustee and/or otherwise provided for under the plan have been made.

11 2. Catherine Crass Mccause is not entitled to receive a discharge in this case because the
     following requirements for discharge in 11 U.S.C. § 1328 were not met:
12
     _____ The debtor received a discharge in a prior case within the time periods specified in
13 11 U.S.C. §1328(f) and is not entitled to a discharge in this case.

14
     _____ The debtor has not paid all domestic support obligations as the term is defined in
15 11 U.S.C. §101(14A) by any order of a court or administrative agency or by any statute.
     11 U.S.C. §1328(a)
16
   _____ The debtor did not complete an instructional course concerning personal financial
17
   management described in 11 U.S.C. §111 or did not file a statement regarding completion
18 of the course prior to making the last plan payment. 11 U.S.C. §1328(g); Interim Bankr.
   R. 1007(b)(7) and (c)
19
   _____ No statement as to whether there is pending a proceeding in which the debtor may
20 be found guilty of a felony of a kind described in §522(q)(1)(A) or found liable for a debt
   of the kind described in §522(q)(1)(B) has been filed with the court. 11 U.S.C. §1328(h);
21 Interim Bankr. R. 1007,4004.

22 __XX___ Other: FAILURE TO FILE - CERTIFICATE IN SUPPORT OF DISCHARGE

23 THEREFORE, THE TRUSTEE REQUESTS THAT THE COURT ISSUE A
     NOTICE THAT THE ABOVE-CAPTIONED CASE HAS BEEN CLOSED
24 WITHOUT A DISCHARGE

25
     Date: October 19, 2018                         /s/ Martha G. Bronitsky
                                                    Martha G. Bronitsky
26
                                                    Chapter 13 Standing Trustee
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